Case 2:12-cv-10273-PDB-RSW ECF No. 143-1 filed 06/22/18     PageID.5422    Page 1 of 2



    EXHIBIT INDEX TO PLAINTIFF’S BRIEF IN OPPOSITION TO PAUL
   FISCHER’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
     JURISDICTION, FOR JUDGMENT ON THE PLEADINGS, AND FOR
                   SUMMARY JUDGMENT [R. 135]

  Exhibit                              Description
    1     Transcript Selections from the (Vol. 1) August 11, 2017 and (Vol. 2)
          January 5, 2018 Depositions of Deborah Green

     2     Transcript Selections From the July 28, 2017 Deposition of Paul Fischer

     3     Transcript Selections From the January 17, 2018 Deposition of Hon.
           Valdemar Washington

     4     April 15, 2011 Letter From Chad Schmucker to Hon. Valdemar
           Washington re: Letter of Understanding

     5     Pamela Anderson’s July 17, 2012 Complaint and Jury Demand Against
           the City of Inkster and Judge Sylvia James

     6     Wayne County Circuit Court’s October 3, 2012 Order Granting
           Defendant/Counter-Plaintiff, Judge Sylvia James’, Motion for Summary
           Disposition of First Amended Complaint Pursuant to MCR 2.116(C)(7)
           and (C)(8)

     7     Transcript Selections From the December 21, 2017 Deposition of
           Margaret Rynier as representative of the JTC

     8     Transcript Selections From the October 12, 2017 Deposition of Pamela
           Anderson

     9     October 8, 2010 Associated Press article: “Judge James Kandrevas
           pleads the Fifth more than 200 times in Southgate lawsuit”

    10     October 12, 2010 The News Herald article: “Southgate: City settles
           second lawsuit against judge”

    11     October 13, 2010 Associated Press article: “Former Wayne County
           Judge Mary Waterstone to stand trial for allowing perjury”

                                         1
Case 2:12-cv-10273-PDB-RSW ECF No. 143-1 filed 06/22/18    PageID.5423   Page 2 of 2




    12     March 4, 2012 Record Eagle article:    “Our view: Judge’s decisions
           should cost him his post”

    13     March 31, 2016 mLive article: “Judge avoids jail after embezzlement
           case ends in misdemeanor plea”

    14     State of Michigan Judicial Tenure Commission’s Annual Report of 2017

    15     JTC’s list of grievance codes (JAMES RTP 2 000704)

    16     Transcript Selections From the February 7, 2012 JTC Proceedings re
           Formal Complaint No. 88—Witness: Breana Purdy

    17     Transcript Selections From the February 13 & 16, 2012 JTC Proceedings
           re Formal Complaint No. 88—Witness: Pamela Anderson

    18     Transcript Selections From the February 24, 2012 JTC Proceedings re
           Formal Complaint No. 88—Witness: Alice Hagler-Taylor

    19     Transcript Selections From the February 23, 2012 JTC Proceedings re
           Formal Complaint No. 88—Witness: Carmilla Bourn

    20     Grievances and formal complaints from the JTC for the years 1998
           through 2017, showing race and gender of each judge

    21     June 20, 2018 Affidavit of Dr. Edward Rothman

    22     May 11, 2016 email from John Bursch (then counsel for the JTC) to
           Jason Hirsch (counsel for Plaintiff) re: grievance codes




                                        2
